                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTHERN DIVISION



UNITED STATES OF AMERICA,                              1
                                                       1
                                                       )
               v.                                      )              ORDER
                                                       )
ROGER HUGH TAYLOR,                                     )
                                                       )
               Defendant.                              1

       This matter is before the Court on several pretrial motions by the Defendant. The matters

have been fully briefed and are now ripe for ruling.

                                         BACKGROUND

       Defendant, along Co-defendants Strickland, Lovin, and others, were deputies of the

Robeson County Sheriffs Office, and were indicted on violations of the Racketeering Influenced

and Corrupt Organizations Act ("RICO"), 18 U.S.C. €j1962(c). The indictment alleges that the

criminal enterprise conducted included acts of arson, assault, theft of public funds, distribution of

controlled substances and money laundering.

                                            ANALYSIS

I.     Motion for Notice of Intent to use 404Cb) Evidence [DE # 661

       Rule 404(b) of the Federal Rules of Evidence requires that the prosecution give

"reasonable notice in advance of trial" of other crimes, wrongs or acts evidence that it intends to

use. The Government submits that they are aware of the requirement and will provide pretrial

notice of the evidence that it intends to use for 404(b) purposes. Should the Government attempt




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to introduce 404(b) evidence at trial, that Defendant was not notified of pretrial, and the

Government has not made a showing of good cause as to why there was no pretrial notice, the

evidence will be inadmissible at trial. Because the Government agrees to comply with their

obligations for reasonable pretrial notice, Defendant's Motion for Notice of Intent to use 404(b)

Evidence is DENIED.

11.    Motion for Pretrial Disclosure of All Exculpatory and Impeachment Materials [DE # 677

       Defendant seeks early disclosure of all information required under the Brady. Brady

evidence is that which is favorable to the accused and is material to guilt or punishment. Brady

v. Maryland, 373 U.S. 82,87 (1963). Although there is no time frame required, such evidence

must be disclosed at a time which makes the evidence of value to the accused. Hamrick v.

Bailey, 386 F.2d 390, 363 (4th Cir. 1967). The Government indicated that it has provided ample

discovery and is aware of its continuing obligations to disclose materials that fall under the Brady

rule. Absent specific evidence that the Government has failed to meet its requirements, the

Defendant's Motion is DENIED.

       Defendant further requests pretrial disclosure of statements made by individuals that may

testify for the government at trial. Under the Jencks Act, such statements are not required to be

disclosed by the Government until the Government has concluded its direct examination of the

witness. 18 U.S.C. $ 3500; Unitedstates v. Lewis, 35 F.3d 148, 151 (4th Cir. 1994).

Accordingly, there in no legal basis to compel pretrial disclosure of Jencks statements and

Defendant's Motion is DENIED.

111.   Motion to Compel Early Production of Grand Jury Testimony [DE # 681

       Defendant reiterates its request for pretrial Brady and Jencks material. For the reasons




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discussed above, Defendant's Motion is DENIED.

IV.    Motion for Sequestration of Government Witnesses [DE # 691

       Rule 6 15 of Federal Rules of Evidence mandates that the Court shall exclude witnesses

so that they cannot hear the testimony of other witnesses. FED.R. EVID.6 15. Excepted from this

rule are parties themselves, designated representatives of corporations, a person whose presence

is shown by a party to be essential to the presentation of the case, or those authorized by statute

to be present. Id. at 61 5(2) A government investigative agent may be exempted under the rule.

United States v. Parodi, 703 F.2d 768,773 (4th Cir. 1983). The Government submits that the

North Carolina State Bureau of Investigation, United States Secret Service and the Internal

Revenue service jointly conducted the investigation in this matter, and that a representative from

each should be exempted from the Rule 615 requirements. However, under exception 615(2)

only one designated representative is permitted. United States v. Farnham, 79 1 F.2d 33 1,334-35

(4th Cir. 1986). Accordingly, Defendant's Motion to Sequester Witnesses is GRANTED, the

Government is permitted to designate one person as the investigative agent under Rule 6 15(2).

V.     Motion to Compel Disclosure of Existence of Promises and Impeaching Information [DE


       This motion relies on the same law as Defendant's Motion for Motion for Pretrial

Disclosure of All Exculpatory and Impeachment Materials [DE # 671, but requests different

information. For the same reasons detailed regarding [DE # 671 above, Defendant's Motion is

DENIED.

VI.    Motion for Pretrial Conference TDE # 711

       Defendant moves for a pretrial conference pursuant to Rule 17.1 of the Federal Rules of




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Criminal Procedure. At this time, the Court does not feel that the circumstances warrant a pretrial

conference, and Defendant's Motion is DENIED.

VII.    Motion for Pretrial Disclosure of All Exculpatory and Impeachment Materials TDE # 761

        This motion relies on the same law as Defendant's Motion for Motion for Pretrial

Disclosure of All Exculpatory and Impeachment Materials [DE # 671, but requests different

information. For the same reasons detailed regarding [DE # 671 above, Defendant's Motion is

DENIED.

VIII.   Motion for Bill of Particulars TDE # 841

        The purpose of a bill of particulars, pursuant to Rule 7(f) of the Federal Rules of Criminal

Procedure, is to inform the defendant of the charges against him and to minimize surprise at trial.

 United States v. Butler, 885 F.2d 195, 199 (4th Cir. 1989) (quoting United States v. Hawkins,

661 F.2d 436,451 (5th Cir. 1981). It is not to be used as a discovery device or to provide

detailed disclosure of the government's evidence prior to trial. United States v. Automated Med.

Labs., Inc., 770 F.2d 399, 405 (4th Cir. 1985). A bill of particulars is unnecessary where the

indictment complies with the Fifth and Sixth Amendments by alleging the essential elements of

the crime with which the defendant is charged in a manner that permits a defense and plead

double jeopardy in any future prosecutions. Hamling v. United States, 41 8 U.S. 87, 117 (1 974);

Butler, 885 F.2d at 198. Here, a bill of particulars is inappropriate because the indictment

provided a detailed description of the alleged criminal activity, setting out the elements of several

RICO charges. Defendant's request for a bill of particulars is DENIED.

        In conclusion, Defendant's Motion for Notice of Intent to use 404(b) Evidence [DE # 661

is DENIED; Motion for Pretrial Disclosure of All Exculpatory and Impeachment Materials [DE #




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671 is DENIED; Motion to Compel Early Production of Grand Jury Testimony [DE # 681 is

DENIED; Motion for Sequestration of Government Witnesses [DE # 691 is GRANTED and the

Government is permitted to designate one person as the investigative agent under Rule 61 5(2);

Motion to Compel Disclosure of Existence of Promises and Impeaching Information [DE # 701 is

DENIED; Motion for Pretrial Conference [DE # 711 is DENIED; Motion for Pretrial Disclosure

of All Exculpatory and Impeachment Materials [DE # 761 is DENIED; and Motion for Bill of

Particulars [DE # 841 is DENIED.

       SO ORDERED, this      / 7 day of January, 2007.




                                            UNITED STATES DISTRICT J C T ~ G E




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